Case 9:22-cr-80105-DMM Document 25 Entered on FLSD Docket 09/06/2022 Page 1 of 4




                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                        Case No. 22-cr-80105-Middlebrooks/Matthewman

   UNITED STATES OF AMERICA,
                                                                                     KJZ
   v.
                                                                           Sep 6, 2022
   BLAKE FISHMAN,

         Defendant.                                                                     West Palm Beach
   ______________________________/

               MAGISTRATE JUDGE’S REPORT AND RECOMMENDATION
                     FOLLOWING CHANGE OF PLEA HEARING

          THIS CAUSE is before the Court upon Order of Reference from the Honorable United

   States District Judge Donald M. Middlebrooks, DE 17, and the consent of the parties for a

   United States Magistrate Judge to conduct the change of plea hearing and accept a guilty plea

   for Defendant, Blake Fishman (“Defendant”). The Court held a change of plea hearing in open

   Court on September 6, 2022, which was attended by Defendant, his counsel, Marc Seitles, Esq.,

   and Trial Attorney Meredith Hough, Esq., United States Department of Justice, on behalf of the

   Government. The Court hereby advises, finds and recommends as follows:

          1.     The Court advised Defendant of his right to have the hearing conducted by the

   presiding U.S. District Judge assigned to the case. The Court also advised Defendant that the

   undersigned U.S. Magistrate Judge was conducting the change of plea hearing and taking

   Defendant’s plea of guilty by Order of Reference from the U.S. District Judge and as agreed to

   by Defendant, Defendant’s attorney, and the DOJ Trial Attorney assigned to this case. The

   Court further advised Defendant that his sentence would be imposed by the presiding U.S.
Case 9:22-cr-80105-DMM Document 25 Entered on FLSD Docket 09/06/2022 Page 2 of 4




   District Judge, who would make all findings and rulings regarding such sentence and would

   conduct a sentencing hearing at a time set by the U.S. District Judge.

          2.       The Court advised Defendant that he did not have to consent to the Undersigned

   conducting this hearing or taking his guilty plea and could require that the change of plea

   hearing be conducted by the U.S. District Judge. Defendant, Defendant’s attorney, and the DOJ

   Trial Attorney assigned to the case all agreed on the record and consented to this Court

   conducting the change of plea hearing and taking Defendant’s guilty plea.

          3.       The Court then conducted a plea colloquy in accordance with the outline set

   forth in the Bench Book for U.S. District Judges and in conformity with the requirements of

   Federal Rule of Criminal Procedure 11.

          4.       A written plea agreement has been entered into by the parties in this case. [DE

   23]. This Court reviewed the plea agreement with the Defendant in open Court and had the

   Defendant acknowledge that he had reviewed and signed the plea agreement. This Court also

   made certain that Defendant was aware of any maximum sentences which could be imposed in

   this case pursuant to the plea agreement, sentencing guidelines, and applicable statutes.

          5.       Defendant acknowledged that he was fully satisfied with the services of his

   attorney Marc Seitles, Esq., and that he had full opportunity to discuss all facets of his case with

   his attorney.

          6.       Defendant knowingly and voluntarily with the advice of competent counsel pled

   guilty to Count One of the Information. Count One charges that Defendant knowingly and

   willfully combined, conspired, confederated, and agreed with others, in violation of Title 18,

   United States Code, Section 1349, to commit health care fraud and wire fraud, that is: (a) to

   knowingly and willfully execute a scheme and artifice to defraud a health care benefit program


                                                    2
Case 9:22-cr-80105-DMM Document 25 Entered on FLSD Docket 09/06/2022 Page 3 of 4




   affecting commerce, as defined in Title 18, United States Code, Section 24(b), that is, Medicare,

   and to obtain, by means of materially false and fraudulent pretenses, representations, and

   promises, money and property owned by, and under the custody and control of, said health care

   benefit program, in connection with the delivery of and payment for health care benefits, items,

   and services, in violation of Title 18, United States Code, Section 1347; and (b) to knowingly

   and with the intent to defraud, devise and intend to devise a scheme and artifice to defraud and

   for obtaining money and property by means of materially false and fraudulent pretenses,

   representations, and promises, knowing the pretenses, representations, and promises were false

   and fraudulent when made, and for the purpose of executing the scheme and artifice, did

   knowingly transmit and cause to be transmitted by means of wire communication in interstate

   commerce, certain writings, signs, signals, pictures, and sounds, in violation of Title 18, United

   States Code, Section 1343. [DE 1].

          7.      The parties filed a Plea Agreement [DE 23] and Agreed Factual Basis for Guilty

   Plea [DE 24], made part of the record and both signed by Defendant, defense counsel, and the

   Government. The Plea Agreement and Agreed Factual Basis for Guilty Plea, as orally

   supplemented by the prosecutor at the change of plea hearing, include all of the essential

   elements of and factual support for the offenses to which Defendant pled guilty. Defendant

   acknowledged that the written proffer and oral proffer were true and correct.

          8.      Defendant has been referred to the U.S. Probation Office for the preparation of

   a pre-sentence investigation report.

          Accordingly, based upon the foregoing and the plea colloquy conducted by this Court,

   the Undersigned




                                                   3
Case 9:22-cr-80105-DMM Document 25 Entered on FLSD Docket 09/06/2022 Page 4 of 4




          FINDS and RECOMMENDS that Defendant, Blake Fishman, (1) be found to have

   freely, knowingly, and voluntarily entered a guilty plea to Count One of the Information, (2)

   that his guilty plea be accepted, (3) that he be adjudicated guilty of the offense, and (4) that a

   sentencing hearing as scheduled by the U.S. District Judge be conducted for a final disposition

   of this matter. Sentencing is currently set for November 10, 2022, at 10:30 a.m. before the

   Honorable Donald M. Middlebrooks, U.S. District Judge.

                                NOTICE OF RIGHT TO OBJECT

          The parties shall have fourteen (14) days from the date of being served with a copy of

   this Report and Recommendation within which to file written objections, if any, with U.S.

   District Judge Donald M. Middlebrooks. Failure to file objections timely shall bar the parties

   from a de novo determination by the District Judge of an issue covered in the Report and

   Recommendation and shall bar the parties from attacking on appeal unobjected-to factual and

   legal conclusions contained in this Report and Recommendation. See 28 U.S.C. § 636(b)(1);

   Thomas v. Arn, 474 U.S. 140, 149 (1985); Henley v. Johnson, 885 F.2d 790, 794 (11th Cir.

   1989); 11th Cir. R. 3-1.

          DONE AND RECOMMENDED in Chambers at West Palm Beach in the Southern

   District of Florida, this 6th day of September, 2022.




                                                                 WILLIAM MATTHEWMAN
                                                                 United States Magistrate Judge




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